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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                No. 1:20-cr-183

             vs.                              Hon. Robert J. Jonker
                                              Chief United States District Judge

KALEB JAMES FRANKS,

                  Defendant.
_____________________________________/

              GOVERNMENT’S RESPONSE TO DEFENDANT’S
                 “CONSCIOUSNESS OF GUILT” MOTION


      In a surprisingly candid admission that his defense strategy is to seek jury

nullification, Franks asks the Court’s permission to argue cable television

conspiracy theories about January 6, 2021 in his case-in-chief. These theories are

unsupported by admissible evidence, are irrelevant, and are calculated to mislead or

confuse the jury.


                                       FACTS

      1.     Franks ostensibly moves for permission to put on “evidence of FBI

misconduct.” (R. 407: Def’s Mot.) He states that he “does not want to bog this Court

down with the accusations getting flung across the media … or the politics of these

affairs.” (PageID.2828.) He proposes exactly that, however, offering that “multiple

news outlets ran stories about Senator Ted Cruz” blaming the FBI for the events of
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January 6, 2021. 1 (Id.) Shortly before filing his motion, Franks’ attorney e-mailed

the government, “If it’s good enough for Ted Cruz to advocate I guess it’s good

enough for me.” (January 14, 2022, 2:57 p.m.)

        2.       Franks does not propose to call Senator Cruz as a witness, or to offer

any substantive evidence. (PageID.2828-29.) He argues the Court should either let

him “raise” the unspecified media material at trial, or in the alternative, consider it

in ruling on his motion to dismiss the superseding indictment, ECF. No. 379. (Id. at

2829.) The motion inappropriately seeks to inject irrelevant political debate into

both the trial and this Court’s evaluation of the legal issues it has been called upon

to decide.


                                         LAW AND ARGUMENT

        Evidence is relevant if it has any tendency to make a fact more or less

probable, and that fact is of consequence in determining the action. Fed. R. Evid.

401. Irrelevant evidence is inadmissible. Fed. R. Evid. 402. The court may exclude

even relevant evidence if its probative value is substantially outweighed by a

danger of unfair prejudice, confusing the issues, or misleading the jury. Fed. R.

Evid. 403.

        Evidence intended to convince the jury to acquit on an improper basis is

properly excluded under Rule 403. United States v. Roberts, 919 F.3d 980, 985 (6th

Cir. 2019). See also, United States v. Laguna, 693 F.3d 727, 730-31 (7th Cir. 2012)



1
 Most of the stories were critical. See, e.g., Philip Bump, Ted Cruz uses Fox News’ favorite conspiracy theory to
redeem himself with the right, Washington Post (January 12, 2022).

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(excluding evidence that would “invite the jury to acquit even if the government

satisfied each element of the charged offense risks jury nullification.”); United

States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996) (“An unreasonable jury verdict,

although unreviewable if it is an acquittal, is lawless, and the defendant has no

right to invite the jury to act lawlessly.”).

        Franks suggests the jury instruction regarding “consciousness of guilt” is

relevant to his argument. (PageID.2830.) That instruction recognizes that a

defendant’s flight, concealment of evidence or implausible exculpatory stories allow

for an inference of guilty knowledge. (Sixth Circuit Pattern Criminal Jury

Instruction 7.14, citing United States v. Jackson, 55 F.3d 1219, 1226 (6th Cir.

1995)). 2 Franks cites no authority for the idea that the “consciousness of guilt”

instruction can apply to anyone but a defendant. He argues that the FBI has

concealed the details of its use of undercover agents and informants “in relation to

the January 6 events.” (PageID.2830.) Not revealing undercover agents and

informants is implicit in their “undercover” status. Moreover, the events of January

6, 2021 are irrelevant to Franks’ own guilt or innocence.

        In the alternative, Franks argues “If national leaders are expressing concern

about FBI overreaching in the realm of informant use and deployment of

undercover agents, this latter idea of ‘objective’ entrapment must assume a greater



2
 For example, contemporary recordings and the testimony of multiple witnesses will establish
Franks intentionally set out to reconnoiter Governor Whitmer’s house the night of September 12,
2020. In his post-arrest interview, however, Franks claimed he did not know the purpose of the trip
until they were underway. The jury can draw an inference from this false exculpatory statement that
Franks knew his participation in the nighttime reconnaissance was incriminating.


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jurisprudential role” in evaluating his motion to dismiss the indictment.

(PageID.2831.) In plain English, he asks the Court to dismiss the indictment based

on talk show opinions about unrelated cases. Even if those opinions were relevant

and admissible, the “objective entrapment” theory he claims they support has been

rejected by the court of appeals. See, United States v. Tucker, 28 F.3d 1420, 1422

(6th Cir. 1994).

       In his motion, Franks says the quiet part out loud. That is to say, he admits

his trial strategy is to attempt to put the FBI on trial, and ask the jury to decide

this case on the basis of inflammatory and irrelevant partisan debate and the media

coverage of it. That material is hearsay, it is irrelevant, and it is intended to

mislead and confuse the jury.

       WHEREFORE, the government requests the Court deny Franks’ motion, and

enter an order prohibiting any defendant from offering or referring to such material

at trial.

                                         Respectfully submitted,

                                         ANDREW BYERLY BIRGE
                                         United States Attorney

Dated: January 25, 2022                    /s/ Nils R. Kessler
                                         NILS R. KESSLER
                                         JONATHAN ROTH
                                         Assistant United States Attorneys
                                         P.O. Box 208
                                         Grand Rapids, MI 49501-0208
                                         (616) 456-2404
                                         nils.kessler@usdoj.gov
                                         jonathan.roth@usdoj.gov




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